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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                SHREVEPORT DIVISION


 GABRIELLE MOORE,

                                Plaintiff,           Civil Action No.:

 VERSUS                                              Judge:

 FARBERWARE LICENSING COMPANY,                       Magistrate Judge:
 LLC d/b/a FARBERWARE
 COOKERWARE,

                                Defendant.


                                   COMPLAINT FOR DAMAGES

TO THE HONORABLE UNITED STATES DISTRICT COURT FOR THE WESTERN
DISTRICT OF LOUISIANA AND THE JUDGES THEREOF:

       The complaint of Gabrielle Moore, a person of the full age of majority, through

undersigned counsel, alleges the following upon personal knowledge and belief, and investigation

of counsel:

                                       NATURE OF THE CASE

1.     This is a product liability action seeking recovery for substantial personal injuries and

damages suffered by Plaintiff Gabrielle Moore (hereafter referred to as “Plaintiff”), after Plaintiff

was seriously injured by a Farberware 7-in-1 programmable pressure cooker (hereafter generally

referred to as “pressure cooker(s)”).

2.     Defendant Farberware Licensing Company, LLC d/b/a Fabrberware Cookware (hereafter

referred to as “Defendant Farberware”) designs, manufactures, markets, imports, distributes, and

sells a wide-range of consumer products, including the subject 7-in-1 programmable pressure

cooker at issue in this case.
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3.     On or about November 17, 2020, Plaintiff suffered serious and substantial burn injuries as

the direct and proximate result of the pressure cooker’s lid suddenly and unexpectedly exploding

off the pressure cooker’s pot during the normal, directed use of the pressure cooker, allowing its

scalding hot contents to be forcefully ejected from the pressure cooker and onto Plaintiff.

4.     As a direct and proximate result of Defendant’s conduct, the Plaintiff in this case incurred

significant and painful bodily injuries, medical expenses, wage loss, physical pain, mental anguish,

and diminished enjoyment of life.

                                         THE PARTIES

5.     Plaintiff was, at all relevant times, a resident and citizen, and domiciled in the City of

Shreveport, State of Louisiana. Plaintiff has resided in the City of Shreveport, State of Louisiana

from the time of her injuries through the present and is therefore deemed a citizen of this state for

purposes of diversity jurisdiction under 28 U.S.C. § 1332.

6.     Defendant Farberware designs, manufacturers, markets, imports, distributes and sells a

variety of consumer products, including the subject “Farberware 7-in-1” pressure cookers.

7.     Defendant Farberware is a Massachusetts Limited Liability Company acquired by the

Meyer Corporation, and incorporated in the State of California, and has a principal place of

business located at 300 1st Avenue, Needham, MA 02494. At the time of Plaintiff’s injuries on

November 17, 2020, the Meyer Corporation was the sole shareholder of Defendant Farberware,

and was organized under the laws of the State of California with a registered service address at

2001 Meyer Way, Fairfield, , California, 94533.

8.     Accordingly, Defendant Farberware is a resident and citizen of the State of Massachusetts

for purposes of diversity jurisdiction under 28 U.S.C. § 1332.
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                                 JURISDICTION AND VENUE

9.     This Court has subject matter jurisdiction over this case pursuant to diversity jurisdiction

prescribed by 28 U.S.C. § 1332 because the matter in controversy exceeds the sum or value of

$75,000, exclusive of interest and costs, and there is complete diversity between the parties.

10.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because all or a substantial part

of the events or omissions giving rise to this claim occurred in this district.

11.    Venue is also proper in this Court pursuant to 28 U.S.C. § 1391 because Defendant has

sufficient minimum contacts with the State of Louisiana and intentionally availed itself of the

markets within Louisiana through the promotion, sale, marketing, and distribution of its products.

                                   FACTUAL BACKGROUND

12.    Defendant Farberware is engaged in the business of designing, manufacturing, warranting,

marketing, importing, distributing, and selling the pressure cookers at issue in this litigation.

13.    Defendant Farberware warrants, markets, advertises, and sell its pressure cookers as a

means “to take the guesswork out of some of the most common cooking tasks” 1

14.    Defendant Farberware boasts that its pressure cookers have “large locking lid to prevents

the cooker from opening while pressurized,” 2 which purport to keep the user safe while cooking.

15.    For example, according to the Owner’s Manual accompanying the individual unit sold, the

pressure cookers are equipped with “important safeguards” that prevents the lid from unlocking

until “the float valve drops down by itself.” 3




1
  https://www.walmart.com/ip/Farberware-Programmable-Digital-Pressure-Cooker-6-
Quart/46543314 (last accessed November 9, 2021)
2
   Id.
3
    Attached hereto as “Exhibit A” and incorporated by reference is the “Farberware 7-in-1
programmable pressure cooker” Owner’s Manual. See, e.g. pgs. 3, 11.
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16.    By reason of the forgoing acts or omissions, the above-named Plaintiff and/or her family

purchased the pressure cooker with the reasonable expectation that it was properly designed and

manufactured, free from defects of any kind, and that it was safe for its intended, foreseeable use

of cooking.

17.    On or about November 17, 2020, Plaintiff was using the pressure cooker designed,

manufactured, marketed, imported, distributed, and sold by Defendant Farberware for its intended

and reasonably foreseeable purpose of cooking.

18.    While the pressure cooker was in use for cooking, the pressure cooker’s lid unexpectedly

and suddenly blew off the pot in an explosive manner. The contents of the pressure cooker were

forcefully ejected out of the pot and onto Plaintiff, causing severe, disfiguring burns to, inter alia,

her arms and breasts.

19.    Plaintiff and her family used the pressure cooker for its intended purpose of preparing

meals and did so in a manner that was reasonable and foreseeable by the Defendant Farberware.

20.    However, the aforementioned pressure cooker was defectively and negligently designed

and manufactured by Defendant Farberware in that it failed to properly function as to prevent the

lid from being removed with normal force while the unit remained pressurized, despite the

appearance that all the pressure had been released, during the ordinary, foreseeable and proper use

of cooking food with the product; placing the Plaintiff, her family, and similar consumers in danger

while using the pressure cookers.

21.    Defendant Farberware’s pressure cookers possess defects that make them unreasonably

dangerous for their intended use by consumers because the lid can be rotated and opened while the

unit remains pressurized.
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22.     Further, Defendant Farberware’s representations about “safety” are not just misleading,

they are flatly wrong, and put innocent consumers like Plaintiff directly in harm’s way.

23.     Economic, safer alternative designs were available that could have prevented the pressure

cooker’s lid from being rotated and opened while pressurized.

24.     As a direct and proximate result of Defendant Farberware’s intentional concealment of

such defects, its failure to warn consumers of such defects, its negligent misrepresentations, its

failure to remove a product with such defects from the stream of commerce, and its negligent

design of such products, Plaintiff used an unreasonably dangerous pressure cooker, which resulted

in significant and painful bodily injuries.

25.     Consequently, the Plaintiff in this case seeks compensatory damages resulting from the use

of Defendant Farberware’s pressure cooker as described above, which has caused the Plaintiff to

suffer from serious bodily injuries, medical expenses, lost wages, physical pain, mental anguish,

diminished enjoyment of life, and other damages.

                             CAUSES OF ACTION
             PURSUANT TO THE LOUISIANA PRODUCTS LIABILITY ACT
                          (LSA-R.S. 9:2800.52, ET SEQ.)

26.     Plaintiff incorporates by reference each preceding and succeeding paragraph as though set

forth fully at length herein.

27.     At the time of Plaintiff’s injuries, Defendant’s pressure cookers were defective and

unreasonably dangerous for use by foreseeable consumers, including Plaintiff.

28.     Defendant’s actions and omissions were the direct and proximate cause of the Plaintiff’s

injuries and damages.

29.     Defendant, under all applicable laws including, but not limited to, the Louisiana Products

Liability Act, LSA-R.S. 9:2800.52 et seq., is liable unto Plaintiff for her injuries and damages for
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designing, manufacturing, assembling, marketing, distributing, and/or selling the aforesaid

pressure cooker that was unreasonably dangerous in construction or composition, in design,

because inadequate warnings about the product had not been provided, and/or because the pressure

cooker did not conform to the implied and express warranties of the manufacturer about this

product.

       WHEREFORE, Plaintiff demands judgment against Defendant for damages, together

with interest, costs of suit and all such other relief as the Court deems proper.

                                    INJURIES & DAMAGES

30.    As a direct and proximate result of Defendant’s negligence and wrongful misconduct as

described herein, Plaintiff has suffered and will continue to suffer physical and emotional injuries

and damages, including past, present, and future physical and emotional pain and suffering, as a

result of the burn injuries she suffered from the incident.

31.    As a direct and proximate result of Defendant’s negligence and wrongful misconduct,

Plaintiff has incurred and will continue to incur the loss of full enjoyment of life and physical

disfigurement as a result of the burn injuries she suffered from the incident.

32.    As a direct and proximate cause of Defendant’s negligence and wrongful misconduct,

Plaintiff has and will continue to incur expenses for medical care and treatment, as well as other

expenses, as a result of the burn injuries she suffered from the incident.

33.    Plaintiff’s damages exceed $75,000.00 as required by 28 U.S.C. § 1332(a), and Plaintiff is

entitled to recover the foregoing damages from Defendant in an amount to be proven at trial.

                                   JURY TRIAL DEMANDED

34.    Plaintiff is entitled to and demands a trial by jury.
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                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against the Defendant for damages, to which

she is entitled by law, as well as all costs of this action, interest and attorneys’ fees, to the full

extent of the law, whether arising under the common law and/or statutory law, including:

           a. judgment for Plaintiff and against Defendant;

           b. damages to compensate Plaintiff for her injuries, economic losses and pain and
              suffering sustained as a result of the use of the Defendant’s pressure cookers;

           c. pre and post judgment interest at the lawful rate;

           d. a trial by jury on all issues of the case; and

           e. for any other relief as this Court may deem equitable and just, or that may be
              available under the law of another forum to the extent the law of another forum is
              applied, including but not limited to all reliefs prayed for in this Complaint and in
              the foregoing Prayer for Relief.

                                               Respectfully submitted,

                                               THE GERTLER LAW FIRM

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